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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,

                        Plaintiff,

                        v.                            Case No. 1:21-cr-00040 (TNM)

 CHRISTOPHER JOSEPH QUAGLIN,

                        Defendant.


                                             ORDER

       Before the Court is Defendant Christopher Joseph Quaglin’s Emergency Motion for

Release from Custody, which he filed on August 21, 2022. See ECF No. 419. Quaglin had

previously filed a civil suit for a writ of habeas corpus against the Attorney General and the

Warden at Northern Neck Regional Jail. See Quaglin v. Garland et. al., No. 1:22-cv-1154-

TNM, ECF No. 1 (April 26, 2022). Because Quaglin had a parallel civil habeas suit raising the

same issues as his Emergency Motion filed here, this Court entered a Minute Order holding this

Emergency Motion in abeyance. See Minute Order (August 22, 2022). In that Minute Order, the

Court noted that the Emergency Motion in Quaglin’s criminal case “challenges Defendant’s

conditions of confinement, as does Defendant’s pending habeas petition before this Court. If

Defendant wishes to prioritize his conditions of confinement challenge as part of this criminal

matter, he may dismiss his habeas petition.” Id.

       Quaglin did not dismiss his habeas petition. Instead, he filed a similar Emergency

Motion for Preliminary Injunction seeking release from custody in his habeas case. See Quaglin

v. Garland et. al., No. 1:22-cv-1154-TNM, ECF No. 26 (August 26, 2022). This Court resolved

that Emergency Motion and his habeas case as a whole during a Motions Hearing on September
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29, 2022. See Order, Quaglin v. Garland et. al., No. 1:22-cv-1154-TNM, ECF No. 34

(September 29, 2022). For the reasons stated on the record at that hearing, the Court will deny

Quaglin’s Emergency Motion for Release from Custody in this proceeding.

       The Court also notes that Quaglin already appealed his detention status once in this case.

See Notice of Appeal, ECF 43. And the D.C. Circuit summarily affirmed Chief Judge Howell’s

pretrial detention order. See United States v. Quaglin, 851 Fed. App’x 218 (D.C. Cir. 2021) (per

curiam). That ruling provides additional support for the Court’s determination here.

       For all these reasons, it is hereby

       ORDERED that Defendant’s [419] Emergency Motion for Release from Custody is

DENIED.

       SO ORDERED.
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Dated: September 29, 2022                           TREVOR N. McFADDEN, U.S.D.J.




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